Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 1 of 25 Page|D #: 472
CJF/k|c: 0E/241'18 n

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

(WHEELING DIVISION)
BROOKE COUNTY COMMISSION, Civil Action No. 5:18~cv-9
HANCOCK COUNTY COMMISS}ON, Civil Action No. 5:18-cv-10
HARRISON COUNTY COMMISSlON, Civil Action No. 5:18~cv-11
LEWIS COUNTY COMl\/I[SSION, Civil Action No. 5:18-cV-12
MARSHALL COUNTY COMMISSION, Civil Action No. 5:18-cv-l3
OHIO COUNTY COMMISSION, Civil Action No. 5:18-cv-14
TYLER COUNTY COMMISSION, and Civil Action NO. 5:18-cv-15
WETZEL COUNTY COMMISSION, Civil Action No. 5:18-cv-16
Plaintiffs,

VS. \

ludge Jolm Preston Bailey

PURDUE PHARMA L.P.; PURDUE PHARMA
INC.; THE PURDUE FREDERICK
COMPANY, INC.; MARK RADCLIFFE;
MARK ROSS; PATTY CARNES; TEVA
PHARMACEUTICALS USA, INC.;
CEPHALON, INC,', JANSSEN
PHARMACEUTICALS, INC.; ORTHO-
MCNEIL-JANSSEN PHARMACEUTICALS,
iNC. n/k/a Janssen Pharmaceuticals, lnc.;
JANSSEN PHARMACEUTICA, INC. n/k/a
Janssen Pharrnaceuticals, lnc.', JOHNSON &
JOHNSON; ENDO HEALTH SOLUTIONS
INC.; ENDO PHARMACEUTICALS, INC.;
ALLERGAN plc; ACTAVIS plc; ACTAVIS,
INC.; ACTAVIS LLC; ACTAVIS PHARMA,
INC.; WATSON PHARMACEUTICALS, INC.;
WATSON PHARMA, INC.; WATSON
LABORATORlES, INC.; MCKESSON
CORPORATION; CARDINAL HEALTH,
INC.; AMERZSOURCEBERGEN DRUG
CORPORATION; RITE AID OF
MARYLAND, INC.; KROGER LIMITED
PARTNERSHIP II; CVS INDIANA, L.L.C.;
WAL-MART STORES EAST, LP; GOODWIN
DRUG COMPANY; WEST VIRGINIA
BOARD OF PHARMACY; DAVID
POTTERS; EDITA P. MILAN, M.D.;
TRESSIE MONTENE DUFFY, M.D.;
EUGENIO ALDEA MENEZ, M.D.;
SCOTT JAMES FEATHERS, D.P.M.; and
AMY LYNN BEAVER, P.A.~C,

 

Defendants.

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 2 of 25 Page|D #: 473

PLAINTIFFS' MEMORANDUM OF LAW IN SUPPORT OF THEIR
EMERGENCY M()TION TO REMAND

COMES NOW, the Plaintiffs, by and through their undersigned counsel, and submit
Plaintijj“s' Memomndum of Law in Support of T heir Emergency Motion to Remand. For the
reasons set forth herein, Plaintiffs respectfully request this Court to remand this action to the
Circuit Court of l\/[arshall County, West Virginia because this Court lacks subject matter
jurisdiction

FACTS AND PROCEDURAL HISTORY

Plaintiffs filed the instant action in the Circuit Court of Mal'shall County, West Virginia
on Decernber 13, 201 7. In their Cornplaint, Plaintiffs seek to abate the public nuisance caused by
the opioid epidemic in their respective counties, and to recoup monies and costs they have spent
because of Defendants' faise, deceptive and unlawful marketing, unlawful distribution, and/or
unlawful diversion of prescription opioids. Plaintiffs bring this action against five classes of
Defendants » all of Whom have caused and/or contributed to the occurrence of the opioid
epidemic in their counties: (l) the Manufacturer Defendants, (2) the Purdue Sales Representative
Defendants, (3) the Distributor Defendants, (4) the West Virginia Board of Pharmacy
(hereinafter "BOP") and its former Executive Director, David Potters, and (5) the Doctor
Defendants. (Compl., il 46.) Plaintiffs' Complaint Seeks compensatory and punitive damages and
alleges causes of action for: (i) public nuisance, (2) unjust enriclnuent, (3) fraud by concealment,
(4) negligent marketing, (5) fraud and intentional misrepresentation, (6) negligent
misrepresentation, (7) negligence, (8) product liability - defective design, (9) product liability ~
failure to Warn, (10) malicious and intentional conduct, and (l l) medical malpractice m pled in

the alternative On January ]9, 2018, Defendants removed this case pursuant to 28 U.S.C. § 1332

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 3 of 25 Page|D #: 474

alleging in shotgun fashion numerous bases for federal jurisdiction - all of Which lack merit.
Three days later, on January 22, 2018, Defendants designated this action as a tag-along action to
the recently formed Opioid MDL pending in Cleveland, Ohio and the JPl\/iL subsequently issued
a Conditional Transfer Order on January 24, 2018.

S'I`ANDAR]) OF REVIEW

c‘[Federal courts] are obliged to construe removal jurisdiction strictly because of the
significant federalism concerns implicated and that if federal jurisdiction is doubtfui, a remand to
state court is necessary." Palisades Collections LLC v. Shorts, 552 F.3d 327, 333-334 (4111 Cir.
2008). "The burden of establishing federal jurisdiction is placed upon the party seeking
removal." Mulcahey v, Columbia Organic Chemicals Co., Inc., 29 F.3d 148, 151 (4th Cir. 1994).
Accordingly, the Removing Defendants have the burden to show the existence of federal
jurisdiction by a preponderance of the evidence See, Vz`rden v. Altrfa Group, Inc., 304 F.Supp.Zd
832, 847 (N.D.W.Va. 2004). In deciding Whether to remand, this Court must "resolve all doubts
about the propriety of removal in favor of retained State jurisdiction." Hartley v. CSX Transp.,
lnc., 187 F.3d 422, 425 (4th Cir.1999).

When a defendant seeks removal alleging fraudulent joinder, the "party alleging
fraudulent joinder bears a heavy burden." Harlley, 187 F.3d at 424 (emphasis added). In fact, the
fraudulent joinder standard "is even more favorable to the plaintiff than the standard for ruling on
a motion to dismiss under Fed. R. Civ. P. 12(b)(6).“ Mayes v. Rapoporl, 198 F.3d 457, 464 (4th
Cir.1999). Fraudulent joinder "must be proved by clear and convincing evidence consisting of
facts rightly leading to that conclusion, apart from the deductions of the pleader.” Rinehart v.

Consolidalion Coal Co., 660 F. Supp. 1140, 1141 (N.D. W. Va. 1987).

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 4 of 25 Page|D #: 475

In determining whether a party has been fraudulently joined, "[a]il factual allegations
must be evaluated in the light most favorable to the [non~relnoving party], resolving all contested
issues of substantive fact in favor of the [non-removing party]." anehart, 660 F.Supp. at 1141.
Further, the district court “must resolve any uncertainties as to current state of controlling law in
favor of plaintiffs." Id. "A claim need not ultimately succeed to defeat removal; only a possibility
of a right to relief need be asserted.” Marshall, 6 F.3d at 233. The removing defendant must
prove "there is no possibility the plaintiff Would be able to establish a cause of action." Mayes,
198 F.3d at 464. Stated alternatively, the plaintiff need only demonstrate a "glimmer of hope“ to
relief in order to have the case remanded Hartley, 187 F.3d at 426.

augment

I. CONSTRUING ALL FACTUAL ALLEGATIONS IN THE LIGH'I` MOST
FAVORABLE T() PLAINTIFFS, ANI) RESOLVING ALL CONTESTED
ISSUES OF FACT AND LAW IN FAVOR OF PLAINTIFFS, THE
REMOVING DEFENDANTS HAVE FAILED TO PROVE BY CLEAR AND

CONVINCING EVIDENCE THA'I` DEFENDANT GOODWIN WAS
FRAUDULENTLY JOINED.

The Removing Defendants Plaintiffs contend that Plaintiffs' claims against Defendant
Goodwin are barred by the applicable statute of limitations because Goodwin "voluntarily
surrendered its DEA registration to distribute controlled substances in April of 2015." (Notice, il
48.) But the Removing Defendants have offered no competent proof or evidence to support their
contention, and instead have presented only speculative statements This is insufficient for
Defendants to sustain their heavy burden

But even assuming Defendants‘ bald assertions are correct, the statute of limitations does
not preclude Piaintiffs‘ claims here. Plaintiffs have asserted a claim against Goodwin for public

nuisance (See Cornpl., First Cause of Action.) In West Virginia, the statute of limitations for

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 5 of 25 Page|D #: 476

public nuisance claim does not begin to run until the "harrn or endangerment to the public health,
safety, and the environment is abated." Syi. Pt. il, State ex rel Smith v. Kermit Lumber &
Pressure Treating, Co., 200 W.Va. 221, 225, 488 S.E.Zd 90l, 905 (1997) (fmding lawsuit filed
by the plaintiff in 1995 alleging public nuisance was not time barred despite the defendant's
business terminating in 1988). The public nuisance created in part by Defendant Goodwin
remains unabated and, thus, the statute of limitations on Plaintiffs' claim for public nuisance has
not yet begun to run. (See Compl., jill 2, 680 and 690).

In addition, Plaintiffs' claims against Defendant Goodwin have not run because
Goodwin's actions constitute a continuing tort. The continuing~tort doctrine applies "[w]here
there is a repeated or continuous injury and where the damages do not occur all at once but
increase as time progresses"; in such instances, "the tort is not completed, nor have all the
damages been incurred, until the last injury is inflicted or the wrongdoing ceases.“ Patrick v.
Sharon Steel Corp., 549 F.Supp. 1259, 1264 (N.D.W.Va.l982). Accordingly, "Where a tort
involves a continuing or repeated injury, the cause of action accrues at and the statute of
limitations begins to run from the date of the last injury or when the tortious overt acts or
omissions cease.” Graham v. Beverage, 211 W.Va. 466, 566 S.E.2d 603, 614 (2002). P]aintiffs
have made a sufficient showing that the continuing-tort doctrine applies here because Plaintiffs
allege a continuing injury that has increased as time progresses and further that Goodwin has
failed to remediate the effects of its tortious conduct, See, Rhodes v. E.I. du Pom de Nemonrs &
Co., 657 F. Supp. 2d 751, 760 (S.D.W. Va. 2009), aj'd in part appeal dismissed in part 636
F.3d 88 (4th Cir. 2011).

Moreover, the statute of limitations on Plaintiffs' claims against Defendant Goodwin is

tolled pursuant to West Virginia's discovery rule. Under the discovery rule, the statute of

4

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 6 of 25 Page|D #: 477

limitations begins to run when the plaintiff knows, or by the exercise of reasonable diiigenee,
should know: (1) that the plaintiff has been injured, (2) the identity of the entity who owed the
plaintiff a duty to act with due care, and who may have engaged in conduct that breached that
duty, and (3) that the conduct of that entity has a causal relation to the injury.” Syl. Pt. 4, Gaither‘
v. Cl'ly Hosp., Inc., 199 W.Va. 706, 487 S.E.2d 901 (1997). Here, Piaintiffs allege that Defendant
Goodwin took steps to avoid detection of, and fraudulently concealed its conspiratorial behavior
and its negligent and reckless conduct relating to its distribution of opioid drugs. (Compl., 1| 43.)
Plaintiffs further allege that Plaintiffs did not know or could not have known through the
exercise of reasonable diligence of Defendants' tortious and improper conduct and/or the identity
of the alleged tortfeasors (Compl. 1111 701-702.) As such, any statute of limitations for Plaintiffs'
claim was tolled pursuant to the discovery rule until that time Plaintiffs knew, or by the exercise
of reasonable diligence, should have known of the existence of their cause of action, the identity
of the alleged tortfeasors, and the conduct that gave rise to their damages

At a minimum, the application of the statute of limitations as related to Plaintiffs' claims
against Defendant Goodwin presents numerous factual questions which must be resolved and
which mandate a remand of this action to state court. As Courts in this District have held, “if [al
statute of limitations issue is difficult to determine, the doctrine of fraudulent joinder is not
appropriate, and the case should be remanded to the state court." Miller v. Htmtington Nat. Bank,
N.A., No. 3:12-CV-1 14, 2013 WL 3878742, at *5 (N.D.W. Va. July 26, 2013),

To the extent the Removing Defendants contend that Defendant Goodwin's citizenship
should be ignored because it is a "nominal" party, this argument must also fail. (Notice, 11 49.) rfc
establish that a defendant is a “nominal party," this Court has held that the removing party must

prove: (1) that the alleged nominal party does not have a real interest in this litigation; (2) the

5

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 7 of 25 Page|D #: 478

plaintiff does not have a possible claim against the alleged nominal party; and (3) entry of a final
judgment in the absence of the alleged nominal party would be equitable Heller v. Trz'Energy,
Inc., 877 F. Supp. 2d 414, 424 (N.D.W. Va. 2012). Applying this test to the facts of the present
case, the Removing Defendants have not - and cannot - prove that Defendant Goodwin is a
nominal party.

Fi.rst, Defendant Goodwin has a real interest in this litigation According to the West
Virginia Secretary of State, Defendant Goodwin is an active for profit corporation (See
Goodwin Drug Company's W.Va. Secretary of State Business Organization Detail, attached
hereto as Exhibit 1.) If Plaintiffs prevail on their claims, Defendant Goodwin faces real and
significant financial liability.l (See Compl., 1[11 8l9~820 and Demand for Relief). Additionally,
Defendant Goodwin has retained counsel to defend its rights and participate in the defense of this
litigation, thus evidencing its active stake in this litigation (See Email from 'l`ed Hess to Mark
Colantonio, RE: Opioid litigation (.lanuary 9, 2018, 4:11 PM), attached hereto as Exhibit 2.)
Secoml, as discussed in greater detail above, Plaintiffs have a legally viable claim against
Defendant Goodwin that is not time barred. Third, an entry of judgment in the absence of
Defendant Goodwin would be unfair and inequitable to Plaintiffs as Plaintiffs would not be able
to recover those damages assessed against Defendant Goodwin for its proportionate fault.

Simply stated, Plaintiffs have asserted timely and legally sufficient claims against

Defendant Goodwin Such is especially true in the context of a fraudulent joinder analysis as

 

' As their sole support for this argurnent, the Removing Defendants claim it "appears likely" that Defendant

Goodwin is judgment proofl (Notice, 11 49.) This argument is legally and factually flawed This argument is purely
speculative and has no evidentiary supportl This argument also ignores the possibility that Defendant Goodwin has
insurance policies to cover Plaintiffs' claims Finally, there is no bright-line rule, and the Removing Defendants have
cited no authority holding that an alleged judgment proof defendant is automatically relegated to the status of a
"nominal party" for removal purposes

6

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 8 of 25 Page|D #: 479

Plaintiffs need only demonstrate a "glimmer of hope“ or possibility that their claims are proper.
Accordingly, Defendant Goodwin was not fraudulently joined and, therefore, this Court lacks
subject matter jurisdiction because diversity jurisdiction is non-existent
II. CONSTRUING ALL FACTUAL ALLEGATIONS IN THE LIGHT MOST
FAVORABLE TO PLAINTIFFS, AND RESOLVING ALL CONTESTED
ISSUES OF SUBSTANTIVE FACT AND LAW IN FAVOR OF PLAINTIFFS,
THE REMOVING DEFENDANTS HAVE FAILED T() PROVE BY CLEAR

AND CONVINCING EVIDENCE THAT THE PURDUE SALES
REPRESENTATIVE DEFENDANTS WERE FRAUDULENTLY JOINED.

A. The Mere Fact That the Purdue Sales Representative Defendants
Were Alleged to Have Acted Within the Scope of Their Agency Does
Not Render Them "Nominal Parties" Such That Their Citizenship
Should be Ignored for Diversity Purposes.

The sole basis for Defendants' contention that the Purdue Sales Representative
Defendants were fraudulently joined is that these Defendants were acting within the scope of
their agency with the Manufacturer Defendants This argument completely lacks merit. Plaintiffs'
Complaint asserts claims against the Purdue Sales Representative Defendants in their individual
capacity and, therefore, Plaintiffs can seek to collect any judgment they obtain against them
personallyl This is true regardless of whether the Purdue Sales Representative Defendants were
employees and/or agents of Defendant Purdue and were acting within the scope of their
employment/agency The law in West Virginia is clear: an agent, acting within the course and
scope of his employment, not only makes his employer liable, but also establishes liability on
behalf of the individual agent. Syl. Pt. 5, Travis v. Alcoa Laboratories, Inc., 202 W.Va. 369
(1998) (“An agent or employee can be held personally liable for his own torts against third
parties and this personal liability is independent of his agency or employee relationship Of
course, if he is acting within the scope of his employment then his principal or employer may

also be held liable.")

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 9 of 25 Page|D #: 480

Signifrcantly, the same argument that the Removing Defendants advance here has
previously been rejected by this Court. Dem‘ v. Chesapeake Appalachia, LLC, No. 5:12CV53,
2013 WL 461255, at *6 (N.D.W. Va. Feb. 5, 2013) (holding that individual defendant was not
fraudulently joined even though it was alleged he was acting within the course and scope of his
employment because the plaintiff asserted a possible claim against him in his individual capacity
and that he was not protected from liability respondeat saper'ior). And there is no valid reason
not to similarly reject Defendants' argument in this case.

B. Plaintiffs' Claims Against The Purdue Sales Representatives, the

Manufacturer Defendants, and the Distributor Defendants are
Properly Joined Pursuant to this Court’s Liberal Joinder Rules.

The Supreme Court of the United States has said that Rule 20(a) must be interpreted to
allow for the "broadest possible scope of action consistent with faimess to the parties; joinder of
claims, parties and remedies is strongly encouraged." United Mz'ae Workers of America. v. Gz'bbs,
383 U.S. 715, 724 (1966). Therefore, "the rule should be construed in light of its purpose, 'which
is to promote trial convenience and expedite the final determination of disputes, thereby
preventing multiple lawsuits.'" Saval v. BL, Ltd., 710 F.2d 1027, 1031 (4th Cir.1983). Moreover,
the requirements of Rule 20 are to be "liberally construed." Potomac Valley Hospital of W. Va.,
Inc. v. Sll'euver Bros., Civil Action No. 3109~CV~72, 2010 WL l152686l (N.D.W.Va. March
29, 2010)(emphasis added).

ln determining whether a right to relief arises from the same transaction or occurrence,
the focus is on the relationship between events giving rise to the action See Moore v. N.Y.
Cottoa Exch., 270 U.S. 593, 610 (l926) ("Transaction is a word of flexible meaning lt may
comprehend many occurrences, depending not so much upon the immediateness of their

connection as upon their logical relationship")."Accordingly, all 'logically related' events

8

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 10 of 25 Page|D #: 481

entitling a person to institute a legal action against another generally are regarded as comprising
a transaction or occurrence." J.C. ex rel Cook v. Pjizer, Inc., No. 3112-CV-04103, 2012 WL
4442518, at *5 (S.D.W. Va. Sept. 25, 2012). Further, absolute identity of all events giving rise to
the claims is unnecessary Sa.val, 710 F.2d at 1031.

lt has already been judicially determined that Plaintiffs' claims against Defendants in the
present case are properly joined. in fn re Nat'l Prescription Opiale Litig., No. MDL 2804, 2017
WL 6031547, at *2 (U.S. Jud. Pan l\/lult. Lit.l Dec. 5, 2017), the United States ludicial Panel on
l\/lultidistrict Litigation found that approximately 161 claims by numerous cities, states, and town
across the country concerning the alleged improper marketing of and inappropriate distribution
of various prescription opiate medications in their communities 4 similar to Plaintiffs' claims
here ~»»» involve common questions of fact. Id. (“All of the actions can be expected to implicate
common fact questions as to the allegedly improper marketing and widespread diversion of
prescription opiates into states, counties and cities across the nation ...”) The Rernoving
Defendants concede as much because the Removing Defendants "support[ed] centralization" of
these claims la re Nat'l Prescription Opia.te Lirz'g., No. MDL 2804, 2017 WL 6031547, at *1.
See also 28 U.S.C. § 1407(a) (authorizing transfer for coordinated pretrial proceedings when
civil actions involve 1‘one or more common questions of fact"). Furthermore, the Removing
Defendants designated this case a tag-along action to the MDL and are attempting to have this
case transferred to the MDL. Defendants' removal of this case and representations to this Court
that Plaintiffs‘ claims do not share common questions of law or fact completely conflicts with
their actions in the MDL and their attempt to transfer this case to the very l\/IDL which

Defendants helped create.

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 11 of 25 Page|D #: 482

As in the MDL, Plaintiffs‘ claims in this case against the Manufacturer Defendants,
Purdue Sales Representative Defendants and Distributor Defendants arise out of the same series
of transactions or occurrences and are otherwise logically related ln their Complaint, Plaintiffs
allege that: (1) the Manufacturing and Purdue Sales Representative Defendants overstated the
benefits and downplayed the risks of the use of their opioids and aggressiver marketed these
drugs to physicians in and around the Plaintiff Counties, and that (2) the Distributor Defendants
failed to monitor, detect, investigate, refuse and report suspicious orders of prescription opiates
(See Compl.) Thus, Plaintiffs' claim against the Manufactur'ing Defendants, the Purdue Sales
Representative Defendants, and the Distributor Defendants are logically related and arise out of
the same transaction or occurrence as they all involve the improper marketing, distribution and
Widespread diversion of prescription opiates in and throughout Plaintiffs’ communities

Additionally, Plaintiffs injuries here are indivisible Thus, the injuries and damages
sustained by Plaintiffs relating to Defendants‘ conduct is "inextricably intertwined" and,
therefore, arise from the same series of transactions or occurrences such that joinder of the
claims is proper. Bell v. Werner Enlerprises, lnc., No. 5:11CV18, 201l WL 1297115, at *3
(N.D.W. Va. Apr. 5, 2011) (frnding claims against separate defendants involving two separate
car accidents - the second accident aggravating injuries from the first accident - were properly
joined in that the injuries the plaintiff received from the two accidents were inextricably
intertwined and accordingly arose from the same series of transactions or occurrences).

The subject claims also involve common questions of fact and law about, inter alia, the
Manufactur'cr Defendants, Purdue Sales Representative Defendants, and the Distributor
Defendants' knowledge of and conduct regarding the diversion of prescription opiates, as well as

the improper marketing of such drugs by the Manufacturer Defendants and their sales

10

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 12 of 25 Page|D #: 483

representatives including the Purdue Sales Representatives. Pursuant to West Virginia law,
these Defendants are under an obligation to prevent diversion of opiates and other controlled
substances into illicit channels Plaintiffs assert that these Defendants have failed to adhere to
those standards, which caused the diversion of opiates into their communities Plaintiffs assert
common claims against these Defendants relating to public nuisance, negligence, negligent
misrepresentation, fraudulent concealment and unjust enrichment There are also common
questions relating to damages, i.e. what are Plaintiffs' damages and who is responsible
Defendants' arguments to this Court are further undermined by their previous actions and
representations in related opioid litigation ln The Coanty Commissz'on of McDowell Coanly v.
McKesson Corporatioa et al., No. l:17-cv~00946, at ECF No. 69, the Removing Defendants filed
a Notice Regarding Non-Party Fault wherein it asserted that the Manufacturer Defendants were
to blame for the opioid crisis MeDowell Cozm.ty Case, ECF No. 69 at 2-3, 17-20 (“To the extent
the opioid medications delivered by Cardinal Health to pharmacies within the County were
improperly dispensed by reason of inadequate instructions or warnings or of false or misleading
advertising and promotion by the manufacturers their actions or omissions caused or contributed
to the harm alleged by Plaintiff.") Because of the positions already taken by Defendants in other
litigation, a finding of misjoinder here would permit Defendants to play an endless shell game of
foisting responsibility upon parties not before the Court, while at the same time arguing these
same potential defendants have been improperly joined. Such a result is inherently unfair and
unjust to Plaintiffs lt is also illogical for the Removing Defendants to argue that the
Manufacturer Defendants are responsible for Plaintiffs damages, while asserting at the same time

their liability is so tangential that their joinder was improper.

ll

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 13 of 25 Page|D #: 484

III. PLAINTIFFS HAVE SUFFICIENTLY DEMONSTRATED MORE THAN A
"GLIMMER ()F HOPE" OF SUCCEEDING ON THEIR CLAIMS AGAINST
THE BOAR]) DEFENDANTS SUCH THAT THE D()CTRINE OF
"FRAUDULENT J()INDER" IS INAPPLICABLE.

A. Plaintiffs' Claims Against the BOP are Not Barred by Qualified
Immunity.

The starting point for the analysis here is the fundamental tenant in West Virginia that
"the general rule of construction in governmental tort legislation cases favor[s} liability, not
immunity [and] unless the legislature has clearly provided for immunity under the circumstances,
the general common-law goal of compensating injured parties for damages caused by negligent
acts must prevail." Randcill v. Fairmont City Police Dep’t, 186 W. Va. 336, 347, 4l2 S.E.2d 737,
748 (1991). Applying these principles to the facts of this case, Plaintiffs have sufficiently
demonstrated a "glimmer of hope“ that their claims against the BOP are not barred by qualified
immunity.

Qualitied immunity, as adopted and applied in West Virginia, is a common law concept
W. Va. v. Chase Secw~ifz`es, 424 S.E.2d 591 (W.Va. 1992). West Virginia case law analyzing and
applying the various governmental immunities to the vast array of governmental agencies has
created a patchwork of holdings West Virgz`nia Health and Human Servz'ces v. Payne, 746 S.E.Zd
554, 562 (W.Va. 2013). Questions of qualified immunity are fact intensive and must be
determined on a case by case basis. Chase Securities, Irzc. 424 S.E.Zd 591 (W.Va. 1992); Syl. Pt
9, Pcrrkulo v. West Virginia Bd. Of Probatior:, 483 S.E.2d 507 (W.Va. 1996). Fuither, state
entities are not entitled to qualified immunity where it can be shown that their actions involved
conduct that violated clearly established laws which a reasonable person in their position would
have known Brown v. Ci¢‘y of Monrgomery, 755 S.E.Zd 653 (W.Va. 2014). The type of clearly

established law or right which can form the basis of a violation sufficient to defeat qualified

12

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 14 of 25 Page|D #: 485

immunity can take many forms, including a violation of a state regulation, or the violation of
traffic laws. West Vi'rginia Regional .fatl And Correcfional Facilz'ly Aufhorz`ty v. A.B., 766 S.E.Zd
751 (W.Va. 2014); Brown, 755 S.E.2d 653 (W.Va. 2014).

As alleged in the Complaint, the BOP's conduct at issue in this case violated clearly
established laws of which a reasonable official/entity would have known or Was otherwise
fraudulent, malicious, or otherwise oppressive, and therefore Plaintiffs‘ claims against the BOP
are not barred by qualified immunity See Pruiff v. W Virginia Dep'r ofPub. Safefy, 222 W. Va.
290, 299, 664 S.E.2d 175, 184 (2008). Specitically, Plaintiffs allege that the BOP's conduct
violated clearly established West Virginia laws and regulations governing the Board of
Pharmacy, including the West Virginia Pharmacy Practice Act, W.Va. Code § 30-5-1, et seq.;
W.Va. Code §§ 30~5»6(d), 30~5-6(f`), Code 30-5-6(1), 30-5-6(0); W.Va. Code §§ 60A-3-303,
60A»3-303(a); and W.Va. CSR §§ 15-2-3, l5-2-3.1, 15-2-3.11, 15-2-4. (Compl., 1[11 787-790.)
l\/loreover, the requirements set forth in these laws and statutes should be known by public
employees and the BOP as the BOP is required to know the fundamental public policies of the
state as expressed in statutes. Brown,755 S.E.Zd 653.

Resolving all legal uncertainties and issues of law and fact in Plaintiffs' favor, Plaintiffs
have sufficiently demonstrated more than a "glimmer of hope“ or possibility of success on their
claims against the BOP. And that is all that is required to defeat Defendants' assertion of
fraudulent joinder.

B. Plaintiffs' Claims Against the BOP are Not Barred by the Public Duty
Boctrine as the BOP's Conduct Was Willful, Wanton, and Reckless.

The protections of the public duty doctrine are not limitless and its application to

Plaintiffs' claims here is inappropriate ln West Virginia, the public duty doctrine does not apply

l3

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 15 of 25 Page|D #: 486

in cases involving willful, wanton, or reckless behavior. Holsten v. Massey, 200 W. Va. 775,
786, 490 S.E.Zd 864, 875 (1997); see also, Esrate ofSnya’er v. Julr`an, 789 F.3d 883, 888 (8th Cir.
20l 5) (finding that under l,`\/lissouri law the public duty doctrine is inapplicable in an intentional
tort case involving a public employee who acts in bad faith or with malice). Here, Plaintiffs'
pleadings clearly allege that the actions and conduct of the BOP were "willful, reckless,
intentional, malicious, wanton, and in bad faith." (See Compl. 1{1l783, 786, 789-791.) Because all
legal uncertainties and all issues of law and fact must be resolved in Plaintiffs' favor, the claims
against the BOP certainly have at least a "glimmer of hope“ for survival in state court, which is
all that is required to defeat an assertion of fraudulent joinder. Rinehart, 660 F.Supp. at 1141;
Marshall, 6 F.3d at 233; Harrley, 187 F.3d at 426.

C. Marshall County is a Proper Venue for Plaintiffs' Claims Against the
BOP.

The Removing Defendants' argument that venue must like in Kanawha County is
misplaced The exclusive venue provision of W.Va. Code § 14-2-2 is not applicable to this case
because Plaintiffs are only seeking recovery against the BOP from its liability insurance carrier.
(Compl., ‘ll 54.) Pittsburgh Elevaror Co. v. W. Virginia Bd. of Regents, 172 W. Va. 743, 744, 310
S.E.2d 675, 676 (1983) ("The exclusive venue provision of W.Va. Code § 14-2-2 is not
applicable to a cause of action wherein recovery is sought against the liability insurance coverage
of a state agency.").

The Removing Defendants' distorted and misleading interpretation of the Complaint that
Plaintiffs are seeking “mandatory, coercive injunctions directing the Board to act in a particular
way with respect to its official duties and responsibilities as a State agency" fares no better. The

Complaint is clear: Plaintiffs are only seeking compensatory and punitive damages and have not

14

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 16 of 25 Page|D #: 487

asserted any type of claim for injunctive relief. (See Compl., jill 45, 49, 56, 819-820, and Demand
for Reliet). But even if the Removing Defendants' interpretation would be correct (which it is
not), § l4-2-2 still does not require venue in Kanawha County. This action is not a "Suit
attempting to enjoin or otherwise suspend or affect a judgment or decree on behalf of the State
obtained in any circuit coin " nor is it a “proceeding for injunctive relief involving the taking,
title, or collection for or prevention of damage to real property." See W. Va. Code § 14-2-2(a)(2)
and (b).

Moreover, "[v]enue is not a jurisdictional question,“ and "the right to have a case heard in
a particular venue may be waived by any party, including the State.“ Hansbarger v. Cook, 351
S.E.2d 65, 70-7l (W. Va. 1986). Thus, whether the BOP will ultimately insist that venue lie in
Kanawha County is for the BOP to decide, not the Removing Defendants, and venue is not, in
any event, a bar to suit. At worst, improper venue of the Board of Pharmacy claim should result
in transfer, not dismissal. See, e.g., Motto v. CSX Transp., ]nc., 647 S.E.2d 848, 851 n.4 (W. Va.
2007) (noting that “Circuit Court of Logan County transferred the matter to the Circuit Court of
Kanawha County" pursuant to W. Va. Code § 14-2-2). In any event, improper venue would not
amount to "no possibility of recovery," which is the relevant standard here.

D. Plaintiffs Have Asserted a Legally Viable Claim Against Defendant
Potters.

W. Va. Code § 30-5-5 provides: "The members of the lBoard of Pharmacy] when acting
in good faith and without malice shall enjoy immunity from individual civil liability while acting
within the scope of their duties as board members.“ Accordingly, Plaintiffs may maintain an
action against Defendant Potters if he acted in bad faith and/or with malice. ln their Complaint,

Plaintiffs allege that Defendant Potters breached his duty to Plaintiffs and that his conduct in

15

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 17 of 25 Page|D #: 488

doing so was intentional, reckless malicious willful, wanton, and in bad faith, and was further
carried out with a conscious, reckless, and outrageous indifference to the health, safety, and
welfare of Plaintiffs and other residents citizens counties and communities across West
Virginia. (Compl., int 780~785, 789-791.) Accordingly, after resolving all legal uncertainties and
all issues of law and fact in Plaintiffs‘ favor, Plaintiffs have sufficiently pled a cause of action
against Defendant Potters to defeat the Removing Defendants' assertion of fraudulent joinderl

E. Plaintiffs' Claims Against the Board Defendants and the Distributor
Defendants are Properly Joined.

Pursuant to West Virginia law, the Distributor Defendants have a duty to inform the BOP
of "suspicious orders" when discovered 15 CSR § 2-4.4. Suspicious orders include orders of
unusual size, orders deviating substantially from a normal pattern, and orders of unusual
frequency. Id. Thus, Plaintiffs' claims against the Distributor Defendants and the Board
Defendants are "logically related," and arise from the same series of transactions or occurrences
namely the failure to properly identify, report, inspect, alert, investigate and/or follow up on
"suspicious orders" and the widespread diversion of opioids in the Plaintiffs' communities (See
Compl., 111 762, 765, 785-790.) See also, 111 re Nat'l Prescripfion Opiare Litz`g., 20i7 WL
6031547, at *2 ("All of the actions can be expected to implicate common fact questions as to the

. widespread diversion of prescription opiates into states, counties and cities across the
nation.").

These claims also involve common questions of law or fact including, without limitation:
(1) was an order a "suspicious order," (2) did the Distributor Defendants properly notify the BOP
about the “suspicious order,” (3) what did the Board of Pharmacy do in response to the

"suspicious order," (4) whether the Distributor Defendants and BOP had knowledge that opioids

16

Case 5:18-cv-00009-.]PB Document 6 Filed 01/24/18 Page 18 of 25 Page|D #: 489

were being diverted within the Counties; and (4) what is the extent of Plaintiffs’ damages and
who is responsible to pay for those damages See Wyalt v. Charlesfon Area Meci. Ctr., Inc., 651
F. Supp. 2d 492, 498 (S.D.W. Va. 2009) (linding joinder proper when the plaintiff sought to
recover for the same damages from all defendants because who is responsible for the plaintiffs
injuries the extent of the plaintiffs injuries and What caused those injuries were common
questions of fact that had to be resolved as to both defendants)

Additionally, for the reasons discussed previously, these claims are properly joined
because Plaintiffs have suffered an indivisible injury. See Bell, 2011 WL 12971l5, at *3.

Like their arguments regarding the joinder of the Manufacturer Defendants the
Removing Defendants arguments here are contradicted by their previous actions and positions
ln McDowell Cozrnly, the Removing Defendants asserted that the BOP was to blame in part for
the opioid crisis See, e.g., McDowell County Case, ECF No. 69 at 24 ("[N]umerous federal, state
and local agencies lincluding the BOP] had knowledge, or the ability to know, of opioid
prescribing and dispensing practices as well as illegal drug dealing, and had authority to enforce
the law. Their failure, individually and collectively, to take timely and effective enforcement
action, caused or contributed to the harm alleged by Plaintiff.") Similarly, in a hearing before the
District Court for the Southern District of West Virginia, the Removing Defendants argued that
the only duty they owed was to regulators such as the BOP, and repeatedly laid blame at the feet
of the BOP for its violations of clearly established laws See, e.g., Cabell County Commission v.
A)nerisourceBergen Drug Corporarfon, No. 3:17~ cv-01665, ECF No. 70. Thus, Defendants'

arguments that the BOP is misjoined is unavailing and should be rejected.

l7

Case 5:18-cv-OOOO9-.]PB Document 6 Filed 01/24/18 Page 19 of 25 Page|D #: 490

IV. PLAINTIFFS HAVE SUFFICIENTLY PLED A VALID CAUSE OF ACTION
AGAINST THE MEDICAL DEFENDANTS AND THEIR INCLUSION IN
THIS LAWSUIT IS PERMITTED BY THIS COURT'S LIBERAL JOINDER
RULES.

A. Assuming Arguendo that Plaintiffs' Claims Against the Medical
Defendants are Governed by the MPLA (which they are not), the
Removing Defendants' Argument is Without Merit as Plaintiffs Fully
Cornplied With the MPLA's Pre-Suit Requirements.

Defendants' argument that Plaintiffs failed to comply with the MPLA misrepresents the
record. (Notice, il 29.) Plaintiffs have fully complied with the MPLA's pre-suit requirements by
serving a Notice of Claim and Screening Cer'tificate upon each of the Medical Defendants2 (See
Screening Certiticate and Notice of Claim for each individual l\/ledical Defendant attached hereto
collectively as Exhibit 3.)

B. The Medical Defendants Are Properly Joined.

Plaintiffs' claims against the Distributor Defendants and the Medical Defendants all relate
to the widespread diversion of opioids within the Plaintiffs' communities which contributed to
the opioid epidemic in the Plaintiffs' counties and the resulting public nuisance and har‘rn. As
prescribers and distributors each set of defendants played a pivotal role in the opioid epidemic.
And because it is a "closed system," one could not exist without the other. ln order for the pills
to be distributed, they must first be prescribed As such, Plaintiffs' claims are "logically related,"
and arise from the same series of transactions or occurrences namely the widespread diversion of

opioids. See fn re Nat'l Prescription Opiare Litig., 2017 WL 6031547, at *2. These claims also

 

2 Plaintiffs assert that their claims against the Medical Defendants are not governed by the MPLA because

they do not arise from (1) legitimate health care services rendered, or which should have been rendered, by a health
care provider or health care facility to a patient, or (2) health care or health care services because the claims involve
the improper and illegal prescribing of opioid pain medications for no legitimate medical purpose (Cornpl., il 796.)
Plaintiffs followed the pre-suit requirements of the MPLA out of an abundance of caution in the event the Court
would determine the MPLA applied (Compl., 11 808). s

18

Case 5:18-cv-OOOO9-.]PB Document 6 Filed 01/24/18 Page 20 of 25 Page|D #: 491

involve common questions of law or fact including, without limitation: (1) was the underlying
prescription written by the Medical Defendant valid and proper, (2) should the Distributor
Defendants identified any "suspicious orders" by the l\/ledical Defendants (3) whether the
Distributor Defendants and Medical Defendants had knowledge that opioids were being diverted
within the Counties; and (4) what is the extent of Plaintiffs damages and who is responsible to
pay for those damages See Wyart, 651 F. Supp. 2d at 498.

Additionally, Plaintiffs have alleged they suffered an indivisible injury. As such, these
claims are properly joined because Plaintiffs’ injuries are l‘inextricably intertwined" and thus
arise from the same series of transactions or occurrences See Bei'l, 2011 WL 1297115, at *3.

Finally, just like their arguments relating to the joinder of Plaintiffs' claims against the
l\/Ianufacturer Defendants and the BOP, the Removing Defendants' position here is undermined
by its prior attempts to blame the prescribing physicians for the opioid epidemic in other opioid
related litigationl See, e.g., McDowell Coamy, ECF No. 67 at 3, 4»7 ("lf Plaintiff has been
damaged as a result of prescription opioid and heroin abuse, as Plaintiff alleges it would be, in
part at least, because prescribing practitioners wrote prescriptions for controlled substances to
McDowell County residents for other than a medically necessary purpose.")

V. THIS COURT SHOULD REFRAIN FROM SEVERING PLAINTIFFS'

CLAIMS AGAINST THE DIVERSE DEFENDANTS UNDER RULE 21 OF
THE FEDERAL RULES OF CIVIL I’ROCEI)URE

"Federal courts have frowned on using the Rule 21 severance vehicle to conjure
removal jurisdiction that would otherwise be absent."Br'owrr v. Erzdo Pharm., Inc., No. 14a
0207~WS-B, 2014 WL 3864626, at *7 (S.D.Ala. Aug. 5, 2014) (collecting cases). Judicial
reluctance to employ Rule 2l in the removal context stems from the concern that application

of Rule 21 would circumvent the strict constraints of the removal statute and improperly

l9

Case 5:18-cv-OOOO9-.]PB Document 6 Filed 01/24/18 Page 21 of 25 Page|D #: 492

expand diversity jurisdiction where it does not exist. E.g., Phillips v. R.R. Dawson Bridge Co.,
LLC, No. 2:l4~cv-00480-LSC, 2014 WL 3970176, at *5 (N.D.Ala. Aug. l2, 2014). These
concerns are compelling reasons and counsel against the application of Rule 21 on the facts of
this case.

Additionally, severing these claims would serve to force Plaintiffs to needlessly incur
additional expenses litigate the same claims for the same damages in two separate venues, while
at the same time allowing Defendants to argue that non-parties are responsible for Plaintiffs harm
and damages Further, the Removing Defendants' claims of efficiency are overstated as there are
already claims pending against Defendants in other state courts and there will undoubtedly be
coordination between the MDL and the state claims regarding discovery As such, this Court
should refrain from severing Plaintiffs’ claims and avoid the manufacture of federal jurisdiction
at Defendants' behest.

CONCLUSION

For all the foregoing reasons the Removing Defendants have failed to meet their heavy
burden of proving federal jurisdictionl After resolving all legal uncertainties and issues of law
and fact in Plaintiffs' favor, Plaintiffs have sufficiently demonstrated a "glimmer of hope“ or
mere possibility of success on their claims against the Non-Diverse Defendants Accordingly,
this Court lacks subject matter jurisdiction and this Case should be remanded to the Circuit Court

of Marshall County, West Virginia where it properly belongs

>l==l<>l<=l==i==l==l<$>l==l<=l=>l¢>l==l<=l<=l=>l<>l==l=**

20

Case 5:18-cv-OOOO9-.]PB Document 6 Filed 01/24/18 Page 22 of 25 Page|D #: 493

Respectfully Submitted,

BROOKE COUNTY COMMISSION, HANCOCK
COUNTY COMMISSION, HARRISON COUNTY
COMMISSION, LEWIS COUNTY COMMISSION,
MARSHALL COUNTY COMMISSION, OHIO COUNTY
COMMISSION, TYLER COUNTY COMMISSION, and
WETZEL COUNTY COMMISSION, Plaintiffs

/s/ Clavlor: J. Fr'tzsr'mmons

Robert P. Fitzsimmons (WV Bar # l212)
Clayton J. Fitzsimmons (WV Bar # 10823)
Mark A. Colantonio (WV Bar #4238)
FITZSIMMONS LAW FIRM PLLC
1609 Warwood Avenue

ereeling, WV 26003

Telephone: (304) 277-l 700

Fax: (304) 277»l705

Paul J. Napoli

Hunter .l. Shkolnil<

loseph L. Ciaccio

Shayna E. Sacks

Salvatore C, Badala

NAPOLI SHKOLNIK, PLLC

400 Broadhollow Road m Suite 350
Melville, New York l 1747

(Morioris for Pro Hac Vice to bejiled)

Jonathan E. Tural< (WV Bar # 38 l6)
G()LD, KHOUREY & TURAK
5l0 Tornlinson Ave.

Moundsville, WV 26041

Daniel J. Guida (WV Bar #4604)
GUIDA LAW OFFICE

3374 Main St.

Weirton, WV 26062

Joseph F. Shaffer (WV Bar # 6805)
Samuel D. Madia (WV Bar # 10819)
SHAFFER MA])IA LAW PLLC
343 West Main Street

Clarksburg, WV 26301

Cormselfor Plaimijfs'

Case 5:18-cv-OOOO9-.]PB Document 6 Filed 01/24/18 Page 23 of 25 Page|D #: 494

UNITED STATES DISTRIC'I` COURT
FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

(WHEELING DIVISION)

BROOKE COUNTY COMMISSION, Civil Action No. 5:18-cv~9

HANCOCK COUNTY COMMISSION, Civil Action No. 5:18-cv-10
HARRISON COUNTY COMMISSION, Civil Action No. 5: l 8-cv-1 l
LEWIS COUNTY COMMISSION, Civil Action No. 5:l8-cv-12
MARSHALL COUNTY COMMISSION, Civil Action No. 5:18-cv-13
Ol-llO COUNTY COMMISSION, Civil Action No. 5:18-cv»14
TYLER COUNTY COMMlSSION, and Civil Action No. 51 18-cv-l 5
WETZEL COUNTY COl\/[l\/IISSION, Civil Action No. 5:18-cv~l6

Plaintiffs
vs.

PURDUE PHARMA L.P.; PURDUE PHARMA
lNC.; THE PURDUE FREDERICK
COl\/IPANY, lNC.; MARK RADCLIFFE;
MARK ROSS; PATTY CARNES; TEVA
PHARMACEUTICALS USA, lNC.;
CEPHALON, lNC.; JANSSEN
PHARMACEUTICALS, INC.; ORTHO-
MCNEIL»JANSSEN PHARMACEUTICALS,.
INC. n/kfa Janssen Pharmaceuticals, Inc.;
JANSSEN PHARMACEUTICA, lNC. nr’kfa
.lanssen Pharmaceuticals, Inc.; JOHNSON &
JOHNSON; ENDO HEALTH SOLUTIONS
lNC.; ENDO PHARMACEUT[CALS, INC.;
ALLERGAN plc; ACTAVIS plc; ACTAVIS,
lNC.; ACTAVIS LLC; ACTAVIS PHARMA,
lNC.; WATSON PHARMACEUTICALS, fNC.',
WATSON PHARMA, INC.; WATSON
LABORATORIES, INC.; MCKESSON
CORPORATION; CARDINAL HEALTH,
iNC.; AMERISOURCEBERGEN DRUG
CORPORATION; RITE AID OF
MARYLAND, INC.; KROGER LIMITED
PARTNERSHIP ll; CVS INDIANA, L.L.C.;
WAL-MART STORES EAST, LP; GOODWIN
DRUG COMPANY; WEST VlRGlNlA
BOARD OF PHARl`\/IACY; DAVlD
POTTERS; EDITA P, MILAN, l\/i.l).;
TRESSIE MONTENE DUFFY, M.D.;
EUGENIO ALDEA MENEZ, M.D.;
SCOTT JAMES FEATHERS, D.P.M.; and
AMY LYNN BEAVER, P.A.-C,
Defendants

Judge John Preston Bailey

 

Case 5:18-cv-OOOO9-.]PB Document 6 Filed 01/24/18 Page 24 of 25 Page|D #: 495

CERTIFICATE or sEerCE

The undersigned counsel for Plaintiffs hereby certifies that on January 24, 2018, a true

copy of the foregoing document was electronically filed with the Clerk of this Court using the

Cl\/l/ECF system, who shall provide electronic notice of such filing to the counsel of record.

By:

Respectfully Submitted,

BROOK_E COUNTY COMMISSION, HANCOCK
COUNTY COMMISSION, HARRISON COUNTY
COMM.ISSEON, LEWlS COUNTY COMMISSION,
MARSI~IALL COUNTY COMMISSION, OHIO COUNTY
C()MMISSION, 'I`YLER COUNTY COMMESSION, and

WETZEL COUNTY COMMISSION, Plaintiffs

/s/ Clai)ton J. Fitzstmmons

Robert P. Fitzsimmons (WV Bar # 1212)
Clayton J. Fitzsimmons (WV Bar # 10823)
Mark A. Colantonio (WV Bar #4238)
FI'I`ZSIMMONS LAW FIRM PLLC
1609 Warwood Avenue

Wheeling, WV 26003

Telephone: (304} 277~l700

Fax: (304) 277-1705

Paul J. Napoli

Hunter J. Shkolnik

.loseph L. Ciaccio

Shayna E. Sacks

Salvatore C. Badala

NAPOLI SHKOLNIK, PLLC

400 Broadhoilow Road - Suite 350
Meiville, New York 1 1747

(Motions for Pro Hac Vr`ce to bejifed)

lonathan E. Turak (WV Bar # 3816)
GOLD, KHOUREY & TURAK

510 Tomlinson Ave.
Moundsville, WV 26041

Daniel J. Guida (WV Bar #4604)
GUIDA LAW ()FFICE

3374 Main St.

Weirton, WV 26062

Case 5:18-cv-OOOO9-.]PB Document 6 Filed 01/24/18 Page 25 of 25 Page|D #: 496

Joseph F. Shaffer (WV Bar # 6805)
Samuel D. l\/ladia (WV Bar # 10819)
SHAFFER MA])IA LAW PLLC
343 West Main Street

Clarksburg, WV 26301

Cormselfor Plaintryfs'

